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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MICHIGAN


IN RE:                                       §
                                             §
Robert George Esdale                         §     CASE NO. 18-02082
                                             §     HON. Scott W Dales
  Debtor(s)                                  §
                                             §

          DEBTOR’S MOTION TO INCUR DEBT AND REFINANCE MORTGAGE

NOW COMES the Debtor, Robert G. Esdale, through Counsel and for his Motion to Incur Debt and
Refinance Mortgage, states as follows:

   1. The Debtor filed an order for relief under chapter thirteen of the United States Bankruptcy Code
      on May 4, 2018.

   2. The Debtor listed an interest in his residence located at 1533 Otsego Dr., Okemos MI, 48864 (the
      “property”) which was jointly owned with his non-filing spouse.

   3. The property is encumbered with a mortgage held by Bank of America ( hereafter “BofA”) which
      was listed on the Debtor’s schedule D.

   4. The current balance on the BofA mortgage is approximately $101,432.08, with a monthly
      payment of $1,638.92, and an interest rate of 3.625%.

   5. The property is also encumbered with a mortgage held by Michigan State University Federal
      Credit Union ( hereafter “MSUFCU”) which was listed on the Debtor’s schedule D.

   6. The current balance on the MSUFCU mortgage is approximately $24,683.11, with a monthly
      payment of $206.30, and an interest rate of 5.50%.

   7. The MSUFCU mortgage was executed on July 9, 2004 and contained a balloon provision stating
      that the entire balance of the loan would be due fifteen years from the date of the loan.

   8. The balloon provision of the MSUFCU loan has been triggered and the Debtor and his non-filing
      spouse must either pay the balance of the loan in full, or refinance into a new loan.

   9. The Debtor’s Chapter 13 plan proposed that the debtor and his non-filing spouse would pay both
      mortgage payments directly to the creditors.

   10. The Debtor’s Chapter 13 plan was confirmed by this Court on September 21, 2018.

   11. The Debtor and his non-filing spouse have remained current on their mortgage payments related
       to the property.
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   12. The Debtors have applied form, and been conditionally pre-approved to receive, a mortgage loan
       which would refinance their home, pay off both the BofA and MSUFCU mortgages.

   13. The new mortgage which the Debtor has been approved for would be issued by MSUFCU, the
       principal balance would be $136,500.00, the interest rate would be 3.625% with a repayment term
       of fifteen years.

   14. The new mortgage payment would be $1,526.22 ($984.22 Principal and interest, $542.00 taxes
       and insurance). A copy of the estimated terms is attached as Exhibit 1.

   15. If the Debtor is allowed to refinance his home, he and his non-filing spouse will save
       approximately $319.00 per month.

   16. The Debtors intend to amend their budget if this motion is granted and if the loan is closed as
       planned. The Debtors believe that they will be able to increase their monthly plan payment which
       will increase the dividend that will be provided to the Debtor’s unsecured creditors.

   17. No creditors will be harmed if this motion is granted.

   18. Because the new mortgage would save the Debtor money, and likely increase the amount
       available to his general unsecured creditors, it is in all parties best interests for this motion to be
       granted.

WHEREFORE, the Debtor requests that this Court approves the Debtor’s Motion and sign the attached
order allowing the Debtor enter into a new mortgage with the terms outlined herein and use the proceeds
from the new loan to satisfy the BofA and MSUFCU mortgages which are currently outstanding against
the property..


Dated: __11/13/19__                               ___/s/____________________________
                                                  Jeffrey D. Mapes (P70509)
                                                  Attorney for the Debtor
                                                  29 Pearl St. NW, Ste. 305
                                                  Grand Rapids, MI 49503
                                                  Phone: (616) 719-3847
                                                  Fax: (616) 719-3857
